        Case 1:09-cr-00102-BLW Document 473 Filed 10/26/12 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,                  )   Case No. 1:09-CR-102-BLW
                                            )
              Plaintiff,                    )
                                            )   ORDER TO DISMISS DEFENDANT
 vs.                                        )   FROM INDICTMENT
                                            )
 EFRAIN CASTILLO-VILLASENOR,                )
                                            )
              Defendant.                    )
                                            )

       The Court has before it a motion to dismiss as to defendant EFRAIN CASTILLO-

VILLASENOR filed by United States of America (Docket No. 472).

       Accordingly,

       NOW THEREFORE IT IS HEREBY ORDERED, that the Motion to Dismiss the

Defendant from the indictment, first superseding indictment, and second superseding

indictment as to EFRAIN CASTILLO-VILLASENOR (Docket No. 472), filed by

Government be, and the same is hereby, GRANTED.

                                        DATED: October 26, 2012



                                        B. LYNN WINMILL
                                        Chief Judge
                                        United States District Court




ORDER - 1
